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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF DELAWARE

                                                              )
    In re:                                                    ) Chapter 7
                                                              )
    ART VAN FURNITURE., et al.,1                              ) Case No. 20-10553 (CSS)
                                                              )
                                                               ) Jointly Administered
                                                              )
                             Debtors.                         )
                                                              )

NOTICE OF AMENDED MOTION OF BANC OF AMERICA LEASING &
CAPITAL, LLC TO COMPEL PAYMENT OF ADMINISTRATIVE CLAIM
           FOR POST-PETITION LEASE OBLIGATIONS

TO: ANY PARTY THAT HAS REQUESTED SERVICE PURSUANT TO
BANKRTUPCY COURT RULE 2002

        PLEASE TAKE NOTICE that on or about September 30, 2020, Banc of

America Leasing & Capital, LLC filed its Amended Motion to Compel Payment of

Administrative Claim for Post-Petition Lease (the “Motion”).

        PLEASE TAKE FURTHER NOTICE that any response or objection to

the entry of a final order with respect to the relief sought in the Motion must be




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  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509); AVF Holdings
I, LLC (2537); AVF Holdings II, LLC (7472): AVF Parent, LLC (3451); Levin Parent, LLC (8052); Art Van
Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising, LLC (6325); LF
Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location of the Debtors’
service address in these Chapter 11 cases is: 6500 East 14 Mile Road, Warren, Michigan 48092.
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filed with the Bankruptcy Court on or before October 9, 2020 at 4:00 p.m.

(Eastern time).


      PLEASE TAKE FURTHER NOTICE that at the same time you must also

serve a copy of the response or objection upon the following counsel:



 Jason C. Powell, Esq.                      Eric R. von Helms, Esquire
 The Powell Firm, LLC                       Kohner, Mann & Kailas, S.C.
 1201 N. Orange Street, Suite 500           4650 North Port Washington Road
 P.O. Box 289                               2nd Floor North
 Wilmington, DE 19899                       Milwaukee, WI 53212
 jpowell@delawarefirm.com                   evonhelms@kmksc.com

      PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO

RESPONSE IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY

GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER

NOTICE OR HEARING.

      PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE

MOTION WILL BE HELD ON October 16, 2020 at 1:00 p.m. (Eastern time)

before the Honorable Christopher S. Sontchi, Chief United States Bankruptcy

Judge, at the United States Bankruptcy Court for the District of Delaware, 824 N.




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     Market Street, Fifth Floor, Courtroom 6, Wilmington, Delaware 19801.


Date: September 30, 2020                  THE POWELL FIRM, LLC

                                          /s/ Jason C. Powell
                                          Jason C. Powell, Esquire (No. 3768)
                                          1201 North Orange Street, #500
                                          P.O. Box 289
                                          Wilmington, Delaware 19899
                                          Phone: 302-650-1572
                                          Fax: 302-650-1574
                                          Email: jpowell@delawarefirm.com

                                          -and-

                                          KOHNER, MANN & KAILAS, S.C.

                                          /s/ Eric R. von Helms
                                          Eric R. von Helms, Esq.
                                          Wisconsin Bar ID: 1043206
                                          4650 North Port Washington Road
                                          2nd Floor North
                                          Milwaukee, Wisconsin 53212
                                          Telephone: (414) 962-5110
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                                          Email: evonhelms@kmksc.com

                                          Counsel to Banc of America Leasing
                                          & Capital, LLC.




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